        Case: 22-10338, 05/05/2023, ID: 12709578, DktEntry: 25, Page 1 of 2




                                       United States Attorney
                                       Northern District of California



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                                       May 5, 2023

Molly Dwyer, Clerk of Court
United States Court of Appeals for the Ninth Circuit
P.O. Box 193939
San Francisco, CA 94119-3939

      Re:    United States v. Elizabeth Holmes, No. 22-10312
             United States v. Ramesh Balwani, No. 22-10338

To the Clerk of Court:

       In the above-captioned cases, the United States has filed several items listing
Ismail J. Ramsey, United States Attorney for the Northern District of California, as
an attorney for the United States in the signature blocks and cover pages. See
Dkts. 35, 40, No. 22-10312 (filed April 25 & 26, 2023); Dkt. 11, No. 22-10338
(filed March 27, 2023). Mr. Ramsey’s name was on these filings as an
administrative default. He had no role in the preparation of these filings, and he
has not made an appearance on either of the dockets as an attorney in these
matters. Going forward, Stephanie M. Hinds will be listed on all filings in these
matters as Attorney for the United States, acting under authority conferred by
28 U.S.C. § 515.

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                                       Respectfully,

                                       STEPHANIE M. HINDS
                                       Attorney for the United States,
                                       Acting Under Authority Conferred By
                                       28 U.S.C. § 515

                                       /s/ Matthew M. Yelovich     ___________
                                       MATTHEW M. YELOVICH
                                       Chief, Appellate Section, Criminal Division

                                       KELLY I. VOLKAR
                                       Assistant United States Attorney


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      Attorneys for Amicus Curiae
      Brian Taylor Goldman




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